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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------x
SYED JAVED and ANEELA WASIF,

                      Plaintiffs,

       -against-                                      MEMORANDUM AND ORDER
                                                      15-cv-7424(FB)(ST)
MEDGAR EVERS COLLEGE OF THE
CITY UNIVERSITY OF NEW YORK,
JAMES HAGGARD, Deputy CIO;
CLAUDIA COLBERT, as former Chief
Information Officer; EDI RUIZ, as current
Chief Information Officer; and TANYA
ISAACS, Director of Human Resources
being sued Individually as employees of
defendant MEDGAR EVERS COLLEGE
OF THE CITY UNIVERSITY OF NEW
YORK,

                       Defendants.
--------------------------------------------------x

Appearances:
For the Plaintiff                                     For the Defendant
BARRY R. FEERST                                       MARK E. KLEIN
Barry R. Feerst & Associates                          Office of the New York State
194 South 8th Street                                  Attorney General
Brooklyn, NY 11211                                    120 Broadway, 24th Floor
                                                      New York, NY 10271

BLOCK, Senior District Judge:

       Plaintiffs Syed Javed (“Javed”) and Aneela Wasif (“Wasif”) seek damages and

injunctive relief against Javed’s former employer, Medgar Evers College of the City

University of New York (“Medgar Evers”). Plaintiffs allege Medgar Evers initiated

disciplinary proceedings, demoted, and eventually fired Javed on the basis of Javed’s
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national origin and religion. Defendants move to dismiss Plaintiffs’ Second Amended

Complaint (“SAC”) pursuant to Fed. R. Civ. P. 12(b)(6). Defendants’ motion is granted.

                                                   I

      To say that Plaintiffs’ SAC is not a model of effective pleading would be an

understatement. The presentation of facts in the complaint is unfocused, not in

chronological order, and rarely provides concrete dates for the events on which

Plaintiffs rest their claims. Key facts are often alluded to without detail. Plaintiffs

frequently make sweeping legal pronouncements without providing a basis for their

conclusion. The facts section provides no organization, running on for twelve and a half

pages with no subheadings. As a result, it is exceedingly difficult to make out a

coherent factual timeline sufficient to even begin evaluating Plaintiffs’ claims.

      Given that Plaintiffs were given three full attempts to write a coherent

explanation of their claims, the total lack of organization and focus on display in the

SAC is particularly frustrating. Nonetheless, the Court has done its best to bring order

to the chaos of the SAC and create a coherent factual timeline. As always, the Court

takes Plaintiffs’ allegations, such as they are, as true for the purpose of a motion to

dismiss.1

            1
            For the purpose of a 12(b)(6) motion, the Court is limited to the four corners of the
  Complaint, documents attached to it or incorporated by reference, documents that are ‘integral’
  to Plaintiff’s claims even if not explicitly incorporated by reference, and facts of which the Court
  may take judicial notice. Leason Ellis LLP v. Patent & Trademark Agency LLC, 2014 WL

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A.       Background

         Javed is a citizen of Pakistan and Canada and a Muslim. At all relevant times, he

lived in the United States with his wife Aneela. Javed and Aneela have two American-

born children. Medgar Evers is a branch of the City University of New York (“CUNY”)

located in Kings County.2

         Javed moved to New York from Canada to take a job at Medgar Evers in the

Information Technology (“IT”) field in 2001. As part of his employment, he was

sponsored for an H-1B visa, and Aneela received an H-4 visa as well. For many years,

his employment went well; he received positive performance reviews, raises, and

promotions, eventually resulting in the title “IT Security Manager” at “the time of his . .




     3887194, at *2 (S.D.N.Y. July 2, 2014). Defendants provide additional documents which they
     claim are “integral” to Plaintiff’s claim. A document is “integral” if a plaintiff has actual notice
     of it, and that plaintiff’s complaint “relies heavily upon its terms and effect.” Chambers v. Time
     Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002). Plaintiff’s reliance on the terms and effects of a
     document is a necessary prerequisite before a court can consider it. Id. The Court will address
     whether documents provided by Defendant meet this definition as needed.
            2
              Technically, Medgar Evers is a constituent senior college in the CUNY system and not a
     legally cognizable entity apart from CUNY. See N.Y. Educ. Law §§ 6202(2) and (5), 6203;
     Clissuras v. City Univ. of N.Y., 359 F.3d 79, 81 n.2 (2d Cir. 2004) (per curiam). “Consequently,
     CUNY is the properly named Defendant in this action.” Id. Therefore, CUNY will be deemed
     substituted in place of Medgar Evers as the properly named Defendant. See, e.g., Allen v. N.Y.C.
     Dept. of Envtl. Prot., 51 F. Supp. 3d 504, 516 (S.D.N.Y. 2014) (substituting properly named
     defendant for improperly named one). However, because all the alleged events took place at
     Medgar Evers, for purposes of this opinion, the Court will continue to refer to Defendant by the
     name Medgar Evers.

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. termination.”3 This all ended with the entrance into the department of Defendant

Claudia Colbert (“Colbert”) in 2010.

B.       Colbert’s Alleged Discrimination

         Colbert was the Chief Information Officer (“CIO”) of Medger Evers from 2010

to 2013 and appears to have had some sort of supervisory role over Javed (the

complaint does not specify their relationship).

         The allegations against Colbert are salacious. Colbert “singled out and targeted

with intimidation, harassment and threats those employees of Middle Eastern or South

Asian national origin, race, and or [sic] of the Islamic religion.” SAC ¶ 22.The many

discriminatory acts Colbert is alleged to have committed against these employees

include:

         •       Publicly humiliating them;

         •       Demanding that they be fired (no specific instance was described);

         •       Denying access to resources to impede their job performance (she
                 allegedly denied all requests made by Javed’s Iranian supervisor,
                 Mohammad Nematollahi (“Nematollahi”), to upgrade the
                 telecommunications system simply because he was Iranian);

         •       Removing staff (she allegedly transferred the entire staff of Iranian Head
                 Librarian Danish Yazdani away from him, prompting him to resign, at
                 which point she transferred the entire staff back under the new Head
                 Librarian).


             3
              The SAC is inconsistent on this point; it later describes Javed as having been demoted to
     IT Assistant Level III by the time he was fired.

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      Javed also alleges she committed the following specific acts against him:

      •     At some point in 2012 or 2013, Colbert demanded to see Javed’s
            immigration papers and route his reapproval for his visa through her (even
            though she had no authority to do so). According to Javed, this prevented
            him from obtaining a green card (though he does not specify how). She
            also attempted to prevent his visa paperwork from being renewed;

      •     At some point in 2012, she rerouted his Form I-129 through her office and
            refused to sign it; however, a few weeks later, she returned it to him and
            told him to process it through proper channels;

      •     During one of these immigration disputes, she told Javed “[i]t might not
            matter for you, but to me it does because I was raised in this country where
            my ancestors belong []”;

      •     At an unspecified time, she learned Javed had contracted a virus from a
            blood transfusion and forced him to stay away from work out of fear he
            was “infectious.” When he returned with a doctor’s note saying he was not,
            she put him in “quarantine conditions” away from other employees
            anyway, publically humiliating him.

C.    Colbert Leaves, Ruiz Takes Over

      From here, the facts become murky. However, the following events appear to

have occurred, in some order during 2012 and 2013, with some relationship to one

another:

      •     Nematollahi filed an unspecified legal action against Medger Evers related
            to Colbert’s conduct.

      •     Colbert was transferred from Medger Evers to Queens College.

      •     Nematollahi was charged with disciplinary misconduct, of which it appears
            he was eventually cleared.



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         •       Javed provided an affidavit in support of Nematollahi’s legal action.4

         The outcome of Nematollahi’s legal action is unclear. However, it appears

possible that Colbert’s transfer was motivated in some part by Nematollahi’s legal

proceedings.

         After Colbert left, Edi Ruiz (“Ruiz”) took over as the CIO some time in 2013.

Javed complains that Ruiz removed his assistant, Sana Fahad, also of “Middle Eastern,

Asian, or Muslim decent [sic],” who later resigned. Ruiz continued Colbert’s practice

of ignoring requests for resources for the IT Security department. When Javed

approached her to complain, Ruiz told him, “[I] don’t need much IT security.” SAC ¶

44. According to Javed, this neglect was, at least in part, responsible for what happened

next.

D.       The Disciplinary Proceedings

         At some point in either 2013 or 2014, Medgar Evers appears to have suffered

some sort of IT systems failure. Once again, the SAC provides virtually no details as to




             4
               Defendants provide a copy of the affidavit. This document is properly before the Court
     because Javed’s retaliation claim is based entirely on his filing of this affidavit, and therefore it is
     integral to his complaint. The affidavit was filed September 10, 2013 and asserts that Medgar
     Evers agreed to file Javed’s green card case but never did so.

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what occurred.5 What is clear is Javed took partial blame for it.6

      On May 21, 2014, Javed faced serious disciplinary charges stemming from this

failure and was demoted to “IT Assistant Level III” pending the close of investigation.

He was also placed on administrative leave. Javed was charged with the following:

             CHARGE-I: Misconduct – Neglect of Duty and Incompetence
             In or about and between July 2003 and May 20, 2014, Respondent
      failed to monitor and remediate technical data vulnerabilities on the
      network. The results of a vulnerability assessment conducted by CUNY
      CIS on March 10, 2014 indicate that these assessments have either not
      been performed or were inadequately performed. As a result, significant
      security vulnerabilities and deficiencies were present, placing CUNY non-
      public university data and systems at risk.
             CHARGE-II: Misconduct – Providing False Information on Official
      CUNY Paperwork
             In or about and between 2003 and 2013, Respondent failed to
      ensure that there was accurate reporting of information on the IT Security
      Attestation, which the College provides to CUNY CIS. As a result, the
      college was not sufficiently verified for compliance and that, in fact,
      significant vulnerabilities and deficiencies were present, placing CUNY
      non-public university data and systems at risk.

SAC at 13.

      Javed, of course, contests vigorously that he did anything wrong, calling these

charges “fabricated” and “bogus” throughout the SAC. He claims these charges were

brought in retaliation for his filing of an affidavit in Nematollahi’s lawsuit, that the


         5
            Defendants provide an explanation and supporting documentation here as well.
  However, because Javed did not rely on these documents in making his claim, they were not
  integral to his complaint. Therefore, the Court will not consider them now and will instead rely
  on the facts as alleged in the SAC.
         6
           Indeed, according to the SAC, Nematollahi was cleared of wrongdoing related to the
  failed IT system.
                                                7
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damage to Medgar Evers’s IT systems were caused by Colbert’s obstruction and Ruiz’s

neglect, and that, despite his job title “IT Security Manager,” the mismanagement of

Colbert and Ruiz had effectively neutered him and his entire department and rendered

him blameless for the failure of Medgar Evers’s IT security systems.

      Javed faced a disciplinary hearing on June 10, 2014, at which time he

“documented the fabricated nature of the charges.” SAC ¶ 56. However, a final decision

was never issued, and Javed was left on administrative leave for nine months.

According to Javed, on the day of the hearing, Tanya Isaacs (“Isaacs”), Medgar Evers’s

HR Manager, told Javed that they intended to never resolve the disciplinary issue and

simply wait until Javed’s visa expired and terminate him on that basis. Javed also

alleges that James Haggard (“Haggard”), Deputy CIO of CUNY, “conspired” with

Isaacs in this plan.

      Javed alleges, without specifics, that this was in violation of the Disciplinary

Procedure outlined in a document called the “CUNY Civil Service Employee

Handbook.”7




         7
           In their briefing, Defendants and Plaintiffs both refer to a different document, provided
  by Defendants, called, in pertinent part, “2006-2009 Agreement covering Clerical Administrative
  and Professional Employees of the Classified Service of the City University of New York . . . .”
  (“2006-2009 Agreement”). Def’s Mot. Dismiss Ex. B. However, the operative facts of this case
  occur from 2013-2015. Therefore, this document is not relevant.
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E.       Javed Loses Work Visa and Job

         On February 9, 2015, still with no resolution of his disciplinary action, Javed

received an email notifying him that his “TN-I immigration status expired on [Friday]

February 6” and that he was therefore terminated from his position. SAC ¶ 55.

                                                    II

         On January 19, 2015, Javed filed a claim with the Equal Employment

Opportunity Commission (“EEOC”),8 and on October 3, 2015, he received a Dismissal

and Notice of Right to Sue from the EEOC.

         Plaintiffs filed their complaint on December 30, 2015, their First Amended

Complaint (“FAC”) on May 27, 2016, and their Second Amended Complaint (“SAC”)

on October 14, 2016. The SAC grouped its claims into four causes of action:

discrimination, retaliation, conspiracy, and infliction of emotional distress/loss of

consortium. Within these four causes of action, Plaintiffs allege violations of Title VII,

42 U.S.C. § 1981, 42 U.S.C. § 1983, 42 U.S.C. § 1985, New York State Executive Law

§ 296, New York City Administrative Code § 8-107, and New York Labor Law § 215.

Defendants filed this Motion to Dismiss on February 28, 2017.

         Under Fed. R. Civ. P. 12(b)(6), a party may move to dismiss a cause of action that

“fail[s] to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6) “To


            8
              The SAC does not specify when Javed filed his EEOC claim. However, the First
     Amended Complaint does. “The Court may take judicial notice of [a prior complaint] as matters
     of public record.” Eaves v. Designs for Finance, Inc., 785 F. Supp. 2d 229, 245 (S.D.N.Y. 2011).
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survive a motion to dismiss, the complaint must plead “enough facts to state a claim to

relief that is plausible on its face,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007), and “allow[] the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

      “[W]hile a discrimination complaint need not allege facts establishing each

element of a prima facie case of discrimination to survive a motion to dismiss, it must at

a minimum assert nonconclusory factual matter sufficient to nudge[] [its] claims . . .

across the line from conceivable to plausible to proceed.” E.E.O.C. v. Port Authority,

768 F.3d 247, 254 (2d Cir. 2014) (citing Swierkiewicz v. Sorema N.A., 534 U.S. 506,

510 (2002); Iqbal, 556 U.S. at 680) (citation omitted).

                                             III

A.    Abandoned Claims

      As an initial matter, Plaintiffs’ Opposition to Defendants’ Motion to Dismiss fails

to address many of Defendants’ arguments or defend three of their four claims.

“[C]ourts in this circuit have held that ‘[a] plaintiff’s failure to respond to contentions

raised in a motion to dismiss claims constitutes an abandonment of those claims.’ ”

McLeod v. Verizon New York, Inc., 995 F. Supp. 2d 134, 143 (E.D.N.Y. 2014) (quoting

Youmans v. Schriro, 2013 WL 6284422, at *5 (S.D.N.Y. Dec. 3, 2013)); see also Reid v.

Ingerman Smith LLP, 876 F. Supp. 2d 176, 186 (E.D.N.Y. 2012) (dismissing a claim

because plaintiff failed to defend it in her opposition brief).

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      Plaintiffs failed to defend any of Wasif’s claims, the Retaliation claim, the

Intentional and Negligent Infliction of Emotional Distress claims, the Loss of

Consortium claim, the 42 U.S.C. § 1981 claims, and the 42 U.S.C. § 1985 claims.

Therefore, all of these claims are dismissed. Because Plaintiff Wasif is left with no

claims, she is dismissed from this action. Because Plaintiffs’ second, third, and fourth

causes of action rely entirely on the Retaliation claim, 42 U.S.C. § 1985, and the

Emotional Distress and Loss of Consortium claims, these causes of action are

dismissed.

      The Court moves on to the claims that Javed attempts to defend—his 42 U.S.C. §

1983 claims, Title VII Discrimination claim, and state law claims.

B.    Section 1983 Claims

      Both parties treat the SAC as having pleaded procedural due process and equal

protection claims as part of his SAC. Though the Court is skeptical these causes of

action were clearly pleaded, it will address them anyway. Section 1983 provides, in

relevant part:

        Every person who, under color [of law] . . . subjects, or causes to be
       subjected, any citizen of the United States . . . to the deprivation of any
       rights, privileges, or immunities secured by the Constitution and laws,
       shall be liable to the party injured in an action at law, suit in equity, or
       other proper proceeding for redress.

42 U.S.C. § 1983.

       A § 1983 claim has two elements: (1) the defendant acted under color of state

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law; and (2) as a result of the defendant’s actions, the plaintiff suffered a denial of his

federal statutory rights, or his constitutional rights or privileges. Quinn v. Nassau Cty.

Police Dept., 53 F. Supp. 2d 347, 354 (E.D.N.Y. 1999); Eagleston v. Guido, 41 F.3d

865, 876 (2d Cir. 1994).

      The parties do not dispute that the Defendants operated under “the color of state

law.” Indeed, the Second Circuit has held that “[t]here can be no question that

defendants . . . are, in their personal capacities, amenable to suit under [§ 1983],

inasmuch as they were conducting themselves as supervisors for a public employer and

thus were acting under color of state law.” Annis v. Cty. of Westchester, 36 F.3d 251,

254 (2d Cir. 1994).

      The question, then, is whether Javed has sufficiently pleaded a deprivation of his

constitutional rights. The Court holds that he has failed to do so.

1.    Eleventh Amendment

      As a threshold matter, the Eleventh Amendment to the United States

Constitution bars suit in federal court for relief against a State by a private citizen

absent the State’s consent or a valid Congressional abrogation of immunity. Will v.

Mich. Dep’t of State Police, 491 U.S. 58, 66 (1989). This protection extends to the

senior colleges of CUNY, such as Medgar Evers, which are State entities. See

Clissuras, 359 F.3d 79, 81, 81 n.2 (2d Cir. 2004). This protection also covers the

individual Defendants acting in their official capacities. See Will, 491 U.S. at 71. This

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leaves only the individual Defendants in their personal capacities.

      Javed argues that he seeks prospective relief, namely reinstatement of his

position, and therefore, the Eleventh Amendment does not apply. See Verizon

Maryland, Inc. v. Pub. Serv. Com’n, 535 U.S. 635, 645 (2002); see also Ex parte

Young, 209 U.S. 123 (1908). However, to receive prospective relief, a plaintiff must

allege an “ongoing” violation of Federal law. Verizon Maryland, 535 U.S. at 645. “A

plaintiff may not . . . seek even equitable relief (such as reinstatement to an

employment position) as compensation for past, isolated state conduct.” A.A. v. Bd. of

Educ., Cent. Islip Union Free Sch. Dist., 196 F. Supp. 2d 259, 267 (E.D.N.Y. 2002).

      Here, Javed cannot allege ongoing violation of Federal law because any

misconduct against him stopped, at the latest, when he was let go from Medgar Evers.

What he seeks instead is relief for “past, isolated state conduct.” See id.

      Therefore, the Eleventh Amendment bars all 42 U.S.C. § 1983 claims against

Medgar Evers and the individual Defendants in their official capacities. It does not bar

suits against the Defendants in their individual capacities. See Hafer v. Melo, 502 U.S.

21, 31 (1991).

2.    Equal Protection Claim

      The parties treat Javed’s SAC as having plead an equal protection claim.

However, the only language supporting an equal protection claim is in ¶ 95, as part of

Javed’s retaliation claim, where Javed alleges “[t]he plan of Defendants in so acting

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was to prevent Javed, through legal, economic and psychological intimidation and

hardship, from seeking the equal protection of the laws.” SAC ¶95. Simply including

the words “equal protection” in a complaint is insufficient to allege a plausible cause of

action. See Iqbal, 556 U.S. at 679 (“While legal conclusions can provide the framework

of a complaint, they must be supported by factual allegations.”). Further, this claim is

included in Javed’s retaliation claim, which he abandoned in his Opposition. Finally,

even if Javed had not abandoned this claim, the Equal Protection Clause does not

support a claim for retaliation. See Bernheim v. Litt, 79 F.3d 318, 323 (2d Cir. 1996)

(“[W]e know of no court that has recognized a claim under the equal protection clause

for retaliation following complaints of racial discrimination.”). Therefore, to any extent

that the SAC attempts to plead an equal protection claim, it fails.

3.    Procedural Due Process Claim

      The parties treat the SAC’s allegation that CUNY’s failed to follow “the CUNY

protocol regarding disciplinary action” as a procedural due process claim. However, the

SAC does not allege what that protocol is or how it was violated. “The court need not

credit conclusory statements unsupported by assertions of fact or legal conclusions and

characterizations presented as factual allegations.” In re Livent, Inc. Noteholders Sec.

Litig., 151 F. Supp. 2d 371, 404 (S.D.N.Y. 2001) (citing Papasan v. Allain, 478 U.S.

265, 286 (1986)).

      In his Opposition, Javed attempts to resuscitate this claim by pointing to

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language in the 2006-2009 Agreement, provided by Defendants, requiring a decision

within “days” of the disciplinary hearing. However, the 2006-2009 Agreement was not

operative in 2014, at the time of Javed’s hearing. Even if it were, Defendants rightfully

point out that the 2006-2009 Agreement provides a grieved party the right to escalate

the proceedings in the event that a decision was not timely made. Javed never exercised

that right.

       Further, Javed had an adequate post-termination proceeding available to

him—an Article 78 proceeding in state court. See Hoover v. Cty. of Broome, 340 Fed.

App’x 708, 711 (2d Cir. 2009) (holding that failure to “utilize the adequate post-

deprivation remedy of an Article 78 proceeding” warranted dismissal of plaintiff’s

procedural due process claim).9

       Therefore, Javed has failed to provide factual support for his procedural due

process claim, and it must be dismissed.

C.     Title VII

       This leaves Javed’s Title VII claim for discrimination. As an initial matter, “an

individual defendant cannot be held personally liable under Title VII.” Schiano v.

Quality Payroll Sys., Inc., 445 F.3d 597, 608 n.8 (2d Cir. 2006); see also Tomka v.

Seiler Corp., 66 F.3d 1295, 1313-14 (2d Cir. 1995), abrogated on other grounds by


         9
         The SAC at no point alleges that Javed was due a pre-deprivation procedure. Indeed, the
 challenged procedure itself—the administrative hearing—was a post-deprivation procedure since
 Javed had already been demoted and put on administrative leave at the time it occurred.
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Burlington Indus., Inc. v. Ellerth, 524 U.S. 742 (1998). Therefore, Javed’s Title VII

claims are dismissed against all defendants in their personal capacity.

1.    Title VII Time Bar

      “Before an individual may bring a Title VII suit in federal court, the claims

forming the basis of such a suit must first be presented in a complaint to the EEOC or

the equivalent state agency.” Williams v. N.Y.C. Hous. Auth., 458 F.3d 67, 69 (2d Cir.

2006); 42 U.S.C. § 2000e-5. The claimant must make the EEOC filing within 300 days

of the alleged discriminatory conduct. Williams, 458 F.3d at 69. “[D]iscrete

discriminatory acts are not actionable if time barred, even when they are related to acts

alleged in timely filed charges.” National R.R. Passenger Corp. v. Morgan, 536 U.S.

101, 113 (2002).

      Javed alleges that he filed his EEOC complaint on January 19, 2015. Therefore,

any conduct that occurred prior to March 25, 2014, 300 days prior, is time barred.

Javed failed to respond to Defendants’ argument on this point; therefore, he has

abandoned his claims as applied to discrete acts before this date.10 This includes all

conduct by Defendant Colbert, who left the office in 2013.

      The only alleged conduct that falls after this date is Javed’s demotion, forced



        10
           Javed also does not allege that Colbert’s actions were subject to the “continuing
 violation” doctrine. Regardless, “[t]he courts of this Circuit have generally been loath to invoke
 the continuing violation doctrine and will apply it only upon a showing of compelling
 circumstances.” Falinski v. Kuntz, 38 F. Supp. 2d 250, 257 (S.D.N.Y. 1999). Here, Javed has
 made no showing, much less a “compelling” one.
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administrative leave, and eventual firing.

2.     Discrimination Claim

       “In order to establish a prima facie Title VII claim, [a plaintiff] must show that

(1) [he] is a member of a protected class; (2) [he] was qualified for [his] position and

satisfactorily performed [his] duties; (3) [he] suffered an adverse employment action;

and (4) the circumstances surrounding that action giv[e] rise to an inference of

discrimination.” Buckley v. New York, 959 F. Supp. 2d 282, 296 (E.D.N.Y. 2013). To

satisfy the fourth prong, the plaintiff must allege facts “sufficiently to plausibly suggest

[a defendant’s] discriminatory state of mind” and “conclusory allegations are not

entitled to the presumption of truth.” Id. (citing Iqbal, 556 U.S. at 677-684).

       It is proper to dismiss a claim for discrimination when the complaint itself

“acknowledge[s] [defendants had a] non-discriminatory reason for the adverse action

and fail[s] to allege facts which, if proved, would establish that this reason for the

penalty was pretextual, and that the action was, in fact, taken due to a discriminatory

animus.” Martinez v. New York, 338 Fed. App’x 71, 73 (2d Cir. 2009) (summary

order).11

       Martinez is instructive. In Martinez, the plaintiff alleged he was fined three days’

pay because of his supervisor’s bias against African-Americans. Id. The district court

dismissed the case pursuant to a 12(b)(6) motion. Id. The Second Circuit affirmed

        11
          In the Second Circuit, Summary orders issued on or after January 1, 2007 may be cited,
 though they do not have precedential effect. LR 32.1.1.
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because the plaintiff’s own complaint acknowledged a non-discriminatory reason for

the dismissal—that plaintiff had confronted the supervisor—and the complaint failed to

allege facts which, if proved, would established that this reason was pretextual. Id.

      Here, the adverse actions complained of by Javed are his demotion,

administrative leave, and eventual firing. However, Javed has not alleged any facts that

would give rise to an inference of discrimination surrounding these events. Instead, the

facts alleged in the SAC provide a much more pedestrian reason for Medgar Evers’s

actions against him: that he was disciplined because of the failure of Medgar Evers’s IT

security systems while he was IT Security Manager. This is borne out by the

disciplinary charges themselves, which accuse Javed of “Misconduct – Neglect of Duty

and Incompetence” and “Misconduct – Providing False Information on Official CUNY

Paperwork.” SAC ¶ 58. Further, Plaintiffs themselves admit that Nematollahi was

eventually cleared of misconduct, despite sharing the same protected class as Javed.

SAC ¶ 64.

      All of Javed’s factual allegations of discriminatory conduct relate to one

person—Colbert. However, Colbert had been removed from her position months before

the disciplinary proceedings against Javed began and played no role in those

proceedings. Further, all of the conduct by Colbert is time-barred under Title VII, as

discussed above.

      The worst conduct alleged against Ruiz was that she removed Javed’s assistant

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and told Javed, “we don’t need much IT security.” However, Plaintiffs provide nothing

but conclusory statements to suggest these actions were motived by discrimination.

Javed may rightfully have a complaint that the actions of Ruiz inhibited his ability to

do his job, contributing to the failure of the IT system while he was in charge of it.

However, he provides no facts to suggest her actions were animated by discrimination,

rather than simple incompetence.

      Javed alleges nothing against Isaacs and Haggard except that they were involved

in the decision to put him on administrative leave, and that Isaacs admitted that they

planned to let his immigration status expire and terminate him on that basis. These

allegations provide no evidence of a discriminatory animus, especially because Javed

admits that he was placed on administrative leave because of the the IT failure. Javed

further admits that he recommended security updates, that these recommendations were

ignored or overturned, and that the failure to install these updates contributed to the IT

failure under his watch. See SAC ¶ 45-46. However, Javed did nothing to alert higher

ups at the college about the glaring problem with security. Indeed, his second

disciplinary charge for Providing False Information on Official CUNY Paperwork

explicitly accuses him of providing false information to CUNY in order to cover up his

noncompliant and vulnerable IT systems.

      Javed’s failure to perform the basic functions of his job is sufficient to explain

why he was disciplined. Nor has Javed alleged any facts tending to show that Medgar

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Ever’s concern about the IT failure was pretextual.

      Finally, Javed does not even attempt to dispute that he was ultimately fired

because his immigration status expired. Once that occurred, Medgar Evers no longer

had the legal right to employ Javed. Therefore, the decision to fire Javed, which was

mandatory under United State immigration law, could not have been because of

discrimination. Javed has failed to state a valid Title VII discrimination claim.

E.    State Law Claims

      Because the Court has dismissed all of Javed’s federal claims, the Court may

exercise its discretion and dismiss Javed’s state law claims as well. See United Mine

Workers of America v. Gibbs, 383 U.S. 715, 726 (1966) (holding “if the federal claims

are dismissed before trial . . . the state claims should be dismissed as well.”)

Regardless, his state law claims largely overlap with his Title VII claims. Therefore, if

the Court were to reach them on the merits, it would dismiss them anyway.

                                            IV

      Despite the inadequate pleading and briefing, the Court did its best to

meticulously evaluate Plaintiffs’ claims in case a legitimate cause of action was hidden

within the mess of the SAC. At the end of the day, however, Plaintiffs were not

proceeding pro se, and it is not the Court’s job to do Plaintiffs’ counsels’ work for

them. The Court gave Plaintiffs two opportunities to amend their Complaint. They do

not need a third.

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      All of Plaintiffs’ claims are dismissed with prejudice. Defendants’ motion to

dismiss is GRANTED in its entirety.



SO ORDERED



                                            ____________________________

                                            FREDERIC BLOCK
                                            Senior United States District Judge

Brooklyn, New York
September 29, 2017




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